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 16                        UNITED STATES DISTRICT COURT
 17            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
       LEE WIGOD, individually and on
 19    behalf of all others similarly situated,   Case No. 2:19-cv-02874-SVW-MAA
 20
                                 Plaintiff,       PLAINTIFF’S RESPONSE IN
 21                                               OPPOSITION TO
          v.                                      DEFENDANT’S MOTION TO
 22                                               DISMISS
 23    CALLFIRE, INC., a Delaware
       corporation,                               Date: July 15, 2019
 24
                                                  Time: 1:30 p.m.
 25                             Defendant.        Judge: Hon. Stephen V. Wilson
                                                  Place: Courtroom 10A
 26
                                                  Complaint Filed: April 15, 2019
 27

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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         Plaintiff Lee Wigod (“Plaintiff” or “Wigod) brought this class action
  4   complaint on behalf of himself and a class of similarly situated individuals, alleging
  5   that Defendant CallFire, Inc. (“Defendant” or “Callfire”) violated the Telephone
  6   Consumer Protection Act (“TCPA”) by sending unsolicited, automated text
  7   messages to consumers who made explicit stop requests and who registered their
  8   phone numbers on the National Do Not Call Registry. In response, Defendant asks
  9   the Court to dismiss the Complaint and absolve CallFire of all liability because it
 10   supposedly played the role of a “common carrier” and otherwise did not make or
 11   initiate the text messages at issue. CallFire further argues that its systems for
 12   sending text messages en masse do not qualify as an automatic telephone dialing
 13   system (“ATDS” or “autodialer”) as defined by the TCPA. However, Defendant’s
 14   arguments present an incomplete picture of the allegations supporting Plaintiff’s
 15   claims.
 16         Despite CallFire’s protestations, Wigod has sufficiently pleaded TCPA
 17   violations by Defendant to survive a motion to dismiss. CallFire’s assertions that it
 18   cannot be liable as an initiator of the messages at issue fail for two reasons. First,
 19   even if the Court were to accept that Defendant is a common carrier, CallFire’s
 20   responses to Plaintiff’s stop requests (and failure to honor such requests)
 21   demonstrate that Defendant had knowledge that its services were being used
 22   unlawfully and the continued messages to Plaintiff violated the TCPA. Second,
 23   Plaintiff has sufficiently pleaded CallFire’s involvement in the sending of
 24   unsolicited telemarketing messages so as to raise the claims above the speculative
 25   level; the nature of Defendant’s relationships with its clients is a fact-intensive
 26   inquiry that cannot be properly addressed without discovery, and Wigod has met his
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  1   burden to withstand a motion to dismiss. Similarly, Plaintiff has sufficiently
  2   pleaded the use of an ATDS to send the text messages at issue. Wigod has not
  3   simply recited the statutory requirements—the Complaint contains factual
  4   allegations about the texts received that, taken as true, show CallFire’s text
  5   messaging system to be automated.
  6         Accordingly, and as explained below, the Court should deny Defendant’s
  7   Motion to Dismiss.
  8   II.   SUMMARY OF THE CLAIMS
  9         In the Complaint, Plaintiff claims that CallFire violated the TCPA in two
 10   ways: (1) by sending unsolicited text messages to consumers registered on the
 11   National Do Not Call registry; and (2) by continuing to send unsolicited text
 12   messages after consumers made requests for such messages to “STOP.” (Compl.,
 13   ECF 1 at 1–2.) In turn, these allegations support two class-wide causes of action:
 14   violation of the TCPA on behalf of the Stop Call Class and violation of the TCPA
 15   on behalf of the DNC Registry Class. (Id. at 10, 12.) Though the members of these
 16   classes may vary, the facts supporting each cause of action are the same.
 17         Plaintiff supported his claims with detailed factual allegations about the text
 18   messages received. Wigod first received a message on February 13, 2019, at 11:32
 19   AM, pertaining to an available application for health insurance. (Id. ¶ 12.) In
 20   accordance with the message’s own instructions, Plaintiff replied “Stop.” (Id. ¶ 13.)
 21   Immediately thereafter, Plaintiff received a message beginning with “CallFire
 22   Alerts” that seemingly confirmed his opt-out request and informed him that he
 23   would “no longer receive any messages.” (Id. ¶ 14.) Despite this exchange, Wigod
 24   received another message the next day, February 14, 2019, relating to a sale of
 25   home warranty plans. (Id. ¶ 15.) For a second time, Plaintiff replied “Stop,” and in
 26   return he received another confirmatory opt-out message identical to the first. (Id. ¶
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  1   16.) But even after his second request, Plaintiff continued to receive telemarketing
  2   messages from the same number, one on February 15, 2019, and one on March 11,
  3   2019. (Id. ¶ 17.) In addition to these detailed allegations, Wigod provided the Court
  4   with screenshots of the text messages received from and sent to short code 670-76,
  5   which Plaintiff alleged belongs to CallFire. (Id. ¶ 18.) Plaintiff further alleged that
  6   he has no relationship with CallFire and never gave CallFire consent to send him
  7   telemarketing text messages. (Id. ¶ 19–20.)
  8          On behalf of himself and the class, Wigod detailed the harms that these text
  9   messages caused, including annoyance, nuisance, disruption of the use and
 10   enjoyment of his phone, use of phone memory and battery, and repeated invasion of
 11   privacy. (Id. ¶ 21–24.) On information and belief, and based in part on the
 12   automated nature of the messages received, Plaintiff alleged that the messages were
 13   sent using an ATDS with the capability to store lists of phone numbers and dial
 14   such numbers en masse without human intervention. (See id. ¶ 36–38.) Further, for
 15   the claims of the DNC Registry class, Wigod alleged that CallFire fails to properly
 16   process stop requests and maintain a list of consumers who request not to receive
 17   telemarketing messages. (See id. ¶ 54.)
 18   III.   ARGUMENT
 19          Defendant’s Motion can be distilled to two principal arguments: (1) CallFire
 20   claims that it cannot be liable for TCPA violations, either because it should be
 21   immune from liability as a common carrier or because did not “make” or “initiate”
 22   the text messages received (Memo. In Support of Mot. to Dismiss, ECF 17-1, at 7–
 23   17, 19–22); and (2) CallFire claims that Wigod has not sufficiently pleaded
 24   CallFire’s use of an ATDS to send the messages at issue. (Id. at 17–19.) However,
 25   as explained below, neither of these arguments wins the day. With regard to the first
 26   argument, Plaintiff has sufficiently pleaded CallFire’s involvement in and liability
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  1   for making the automated text messages to survive a motion to dismiss, even if the
  2   Court were to consider Defendant to be a common carrier. As to the second
  3   argument, Plaintiff has adequately pleaded the use of an autodialer to send the text
  4   messages, with more than just reference to the statutory requirements. Accordingly,
  5   the Court should deny CallFire’s Motion to Dismiss and permit this action to
  6   proceed to discovery.
  7         A.       CallFire Is Subject To TCPA Liability As The “Maker” Or
  8                  “Initiator” Of Autodialed Calls.
  9         CallFire primarily attempts to avoid liability by claiming that the TCPA does
 10   not apply to its actions. That is, Defendant claims it is merely a common carrier,
 11   supposedly playing only a “minor role in the causal chain of communication” rather
 12   than “making” or “initiating” the texts sent to Plaintiff and the class. (ECF 17-1, at
 13   12.) However, even a common carrier may be held liable for TCPA violations,
 14   particularly where, as here, the supposed carrier knowingly allows its clients to use
 15   the platform in a manner that violates the law. Further, Plaintiff has sufficiently
 16   alleged CallFire’s involvement in the calls to withstand a motion to dismiss: while
 17   the details of Defendant’s relationship with its clients and the calls made will
 18   become available through discovery, Wigod has met his pleading requirements at
 19   this stage of the litigation. To accept CallFire’s assertions over Plaintiff’s
 20   allegations would defy the standard for considering motions to dismiss. Plaintiff has
 21   adequately demonstrated CallFire’s liability for the telemarketing messages at issue,
 22   and Defendant’s Motion should therefore be denied.
 23                  1.    Though it presents itself as a common carrier, CallFire is
 24                        subject to liability because its responses to opt out requests
 25                        establish notice that further messages would violate the
 26                        TCPA.
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  1         Beginning on the first page of its Motion to Dismiss, CallFire carefully
  2   describes itself as anything but a telemarketing service: a “cloud services telephony
  3   provider” (ECF 17-1 at 1), a “provider of various web-based telecommunications
  4   services” (id. at 3), a “conduit” between customers and downstream carriers (id.), a
  5   “cloud-based transmitter” of text messages (id. at 12), and, most significantly, a
  6   common carrier. (See id. at 2, 3, 4, 19–20.)
  7         While many of those designations are merely creative descriptions, the term
  8   “common carrier” is a term with legal consequences. As the Ninth Circuit recently
  9   pointed out, Congress has never provided a clear definition of the term “common
 10   carrier” as it appears in the TCPA. Fed. Trade Comm’n v. AT&T Mobility LLC, 883
 11   F.3d 848, 855 (9th Cir. 2018); see also 47 U.S.C. § 153(11) (circularly defining a
 12   common carrier as “any person engaged as a common carrier for hire”). However,
 13   and as CallFire notes in its Motion, courts engage in a two-part inquiry to determine
 14   whether an entity is a common carrier: (1) does the entity hold itself out
 15   indifferently to all potential users; and (2) does the entity allow customers to
 16   transmit messages of their own design and choosing. Linlor v. Five9, Inc., No.
 17   17CV218-MMA (BLM), 2017 WL 2972447, at *4 (S.D. Cal. July 12, 2017) (citing
 18   Rinky Dink, Inc. v. Elec. Merch. Sys., No. C13–1347–JCC, 2015 WL 778065, at *4
 19   (W.D. Wash. Feb. 24, 2015)); (ECF 17-1 at 19–20.)
 20         Generally, the TCPA does not apply to common carriers. Rinky Dink, 2015
 21   WL 778065 at *4. Nevertheless, to express this generality as an absolute rule that
 22   that carriers “cannot be subject to TCPA initiator liability” is incorrect. (ECF 17-1,
 23   at 8.) A carrier is not exempt from liability if it was “so involved in placing the call
 24   as to be deemed to have initiated it.” Kauffman v. CallFire, Inc., 141 F. Supp. 3d
 25   1044, 1047 (S.D. Cal. 2015) (citing Rules and Regulations Implementing the
 26   Telephone Consumer Protection Act of 1991, Declaratory Ruling and Order, 30
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  1   FCC Rcd. 7961, 7980 (2015) [hereinafter TCPA Declaratory Ruling]). In addition
  2   to the content or timing of messages, “whether a person who offers a calling
  3   platform service for the use of others has knowingly allowed its client(s) to use that
  4   platform for unlawful purposes” is a significant factor in determining whether a
  5   common carrier was sufficiently involved to be considered an “initiator.” TCPA
  6   Declaratory Ruling, 30 FCC Rcd. at 7980–81; see also Rinky Dink, 2015 WL
  7   778065 at *4 (holding that common carriers can be liable under the TCPA with a
  8   showing of “a high degree of involvement or actual notice of an illegal use and
  9   failure to take steps to prevent such transmissions”).
 10         Here, CallFire’s status as a common carrier is unclear and remains subject to
 11   determination—the two-part inquiry involving Defendant’s offerings and customer
 12   capabilities will require discovery, and this question is not fit for determination on a
 13   motion to dismiss. See, e.g., Couser v. Pre-paid Legal Servs., Inc., 994 F. Supp. 2d
 14   1100, 1104–05 (S.D. Cal. 2014); Luna v. Shac, LLC, No. C14–00607 HRL, 2014
 15   WL 5324291, at *2 (N.D. Cal. Oct. 17, 2014). However, even if the Court were to
 16   find that CallFire is a common carrier, Plaintiff has sufficiently alleged Defendant’s
 17   involvement in the texts to impute TCPA liability. In particular, CallFire’s
 18   responses to opt-out requests demonstrate notice that Plaintiff revoked consent and
 19   thus notice that further texts to Plaintiff were unlawful. As detailed in the
 20   Complaint, Plaintiff opted out of marketing text messages from 670-76 with a clear
 21   “Stop” request, and a confirmatory message informed Wigod that he had “opted
 22   out” of the CallFire Alerts program and would “no longer receive any messages.”
 23   (ECF 1, at ¶¶ 12–14.) Despite CallFire assuring Plaintiff that he wouldn’t receive
 24   any more messages, he received one the next day. (Id. ¶ 15.) Wigod replied “Stop”
 25   again, and received the same opt-out confirmation from CallFire. (Id. ¶ 16.)
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  1         By acknowledging and confirming Plaintiff’s opt-out, CallFire demonstrated
  2   it had notice that Wigod revoked consent for the text messages. Accordingly,
  3   Defendant had notice that further texts would violate the TCPA. Even if the text
  4   messages at issue were planned by CallFire customers, CallFire inserted itself into
  5   fold, assured Plaintiff that he would no longer receive “any messages,” and
  6   knowingly allowed its customers to continue sending texts to Wigod. This degree of
  7   awareness and involvement cannot be ignored as the act of a common carrier—for
  8   the purposes of TCPA liability, CallFire’s notice and failure to stop the messages
  9   are sufficient to extend liability to Defendant as an initiator.
 10          CallFire proffers several arguments as to why, despite failing to honor
 11   Plaintiff’s request and knowingly sending unlawful messages, it should be immune
 12   from suit as a common carrier. First, CallFire claims, without pointing to any
 13   authority, that “a recipient’s revocation of consent to receive messages runs to the
 14   initiator of those messages, not to the phone number.” (ECF 17-1, at 5.) This
 15   contention misses the point. Leaving alone that this claim is not supported by any
 16   statute or case law, Plaintiff has alleged that CallFire was the initiator of all the
 17   texts he received, as evinced by the confirmatory messages. (See ECF 1 at ¶¶ 12–
 18   21.) CallFire’s involvement extends to each message detailed in Plaintiff’s
 19   Complaint, and the manner in which revocation of consent “runs” is immaterial.
 20         Defendant also contends that if the Court does not immunize CallFire from
 21   liability, “then every phone company that transmits or processes text message
 22   communications across the globe would be responsible for any unlawful text
 23   message that their customers craft and send.” (ECF 17-1, at 14.) This “absurd
 24   result” (id.) that Defendant forewarns is apocalyptic hyperbole that ignores the
 25   obvious limitation to common carrier liability: involvement in making, and notice
 26   of, unlawful texts. Plaintiff is not seeking to upend the legal structure of the TCPA,
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  1   but to apply it to CallFire because CallFire was sufficiently involved in initiating
  2   the messages and was aware of their unlawful nature.
  3         Common carrier or not, Defendant may be held liable for the messages at
  4   issue. Though the Court does not yet have enough information to determine
  5   whether CallFire is a common carrier, Plaintiff has demonstrated that Defendant
  6   knew that Wigod revoked consent and failed to prevent additional, unlawful text
  7   messages. Thus, even if the Court labels CallFire a common carrier, it may be held
  8   to account as an initiator of unauthorized telemarketing calls. Defendant’s Motion
  9   to Dismiss should be denied.
 10                2.     Wigod has pleaded sufficient facts demonstrating CallFire’s
 11                       involvement in the making of the text messages at issue to
 12                       survive a motion to dismiss.
 13         Beyond the issue of CallFire’s common carrier status, Plaintiff has met his
 14   burden by pleading allegations to plausibly suggest that Defendant made or initiated
 15   the text messages that violated the TCPA. CallFire asks the Court to make
 16   premature legal and factual determinations in its favor rather than take Wigod’s
 17   factual allegations as true, as is the standard on a motion to dismiss. Plaintiff’s
 18   allegations regarding CallFire’s involvement in the unlawful text messages is well
 19   above the speculative level, and his Complaint should not be dismissed.
 20         As a reminder, to survive a motion to dismiss, a complaint must contain
 21   “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
 22   on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic
 23   Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In other words, factual allegations
 24   must be enough to raise relief above the speculative level. Twombly, 550 U.S. at
 25   555. The plausibility standard asks for more than a “sheer possibility,” but it is “not
 26   akin to a probability requirement.” Iqbal, 556 U.S. at 678. And, while they are not
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  1   bound to accept legal conclusions in a complaint, courts “must take all factual
  2   allegations in the complaint as true” when ruling on a motion to dismiss. Id.
  3         Here, Plaintiff has pleaded sufficient factual allegations to survive a motion
  4   to dismiss. The Complaint plausibly suggests that CallFire made or initiated the
  5   unlawful telemarketing text messages in question, or, at the very least, was “so
  6   involved in the placing of [the text message calls] as to be deemed to have initiated
  7   [them].” TCPA Declaratory Ruling, 30 FCC Rcd. at 7980–81. Wigod alleges a
  8   number of facts that, if taken as true, indicate CallFire’s involvement:
  9         - CallFire is fully aware that unsolicited text messages are being sent
 10             through its own efforts and the efforts of its agents (ECF 1, at ¶ 6);
 11         - The text message calls were made by or on behalf of CallFire, with
 12             CallFire’s approval and ratification (id. ¶ 9);
 13         - CallFire knowingly received a benefit from the making of such calls (id.);
 14         - The shortcode from which Plaintiff received the messages belongs to or is
 15             otherwise associated with CallFire (id. ¶¶ 12, 15, 17); and
 16         - CallFire sent confirmatory texts acknowledging (and seemingly
 17             accepting) Plaintiff’s attempts to opt out of the unsolicited texts. (id. ¶¶
 18             15–17.)
 19   Plaintiff also provided screenshots of the messages that he received from and sent
 20   to CallFire’s shortcode to reinforce his claims. (Id. ¶ 18.) Taken as true, these
 21   factual allegations raise the claims above the speculative level—if Plaintiff and the
 22   other class members received telemarketing texts from a number linked to Callfire,
 23   and their “STOP” requests yielded a confirmatory message opting them out of a
 24   CallFire alert program, it is more than plausible that CallFire was highly involved in
 25   the placement of calls (if not the maker or initiator of said calls) and is therefore
 26   liable under the TCPA.
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  1         In response, CallFire predictably argues that Plaintiff did not allege enough to
  2   plausibly suggest its liability. Defendant contends that Plaintiff’s allegation of
  3   shortcode ownership is “unsupported” (ECF 17–1, at 6), and it further likens the
  4   Complaint to the first filed in Kauffman, which supposedly “[did] not explain how
  5   [the plaintiff] knew that [CallFire] placed the text messages.” (Id. at 10 (quoting
  6   Kauffman v. CallFire, Inc., No. 3:14-cv-1333-H-DHB, 2014 WL 12778843, at *2
  7   (S.D. Cal. Sept. 9, 2014)). Of course, ownership of the shortcode may only be made
  8   certain through discovery. However, Plaintiff’s inclusion of screenshots of the text
  9   messages that he received reveal the basis for his allegations, which are adequately
 10   supported to survive a motion to dismiss. The confirmatory texts that Plaintiff
 11   received after making his STOP requests are plainly preceded by the phrase
 12   “CallFire Alerts.” (See ECF 1, at ¶ 18.) It is reasonable for Wigod and any other
 13   consumer in receipt of such messages to conclude that CallFire, the entity named in
 14   the messages that alerts consumers that they have opted out of its “program,” is
 15   responsible for the calls. This is enough to raise the claims above the speculative
 16   level; to require more at this stage would be to require Plaintiff to prove his case
 17   without the benefit of fact discovery.
 18         Additionally, CallFire makes several arguments based not on the Complaint
 19   but on representations about its services that are improperly before the Court and
 20   exceed the evidentiary scope of a motion to dismiss. CallFire devotes a portion of
 21   its motion to describe its “offering” and the relationship that it supposedly has with
 22   its customers. (ECF 17-1, at 3–5.) Defendant relies on these representations
 23   throughout its argument, even going so far as to say that it enjoys common carrier
 24   immunity “as a matter of law” because some courts have previously agreed with its
 25   characterization. (Id. at 19.) At this stage, however, such a conclusion is
 26   inappropriate.
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               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1         Though the relationship between CallFire and its clients will be considered as
  2   part of the common carrier inquiry, it requires the Court to rule on facts that are not
  3   yet before it—facts that require discovery to be establish. Indeed, the courts in this
  4   circuit have made exactly that conclusion when considering motions to dismiss by
  5   CallFire. For example, in Couser, the Southern District of California found
  6   CallFire’s description of its involvement in placing the calls as “rather cagey,”
  7   noting that CallFire deflects responsibility to its clients, but “also describes its
  8   service in a way that suggests it actually places the calls.” Couser, 994 F. Supp. 2d
  9   at 1103. The court recognized that CallFire seemed “certainly close enough to the
 10   caller,” but it declined to make this factual determination on a motion to dismiss:
 11         Whatever the true and exact relationship between CallFire and its customers
 12         is, the Court finds it to be too fact-intensive, and certainly too disputed, to be
 13         resolve at the motion to dismiss phase in CallFire’s favor. By CallFire’s own
 14         words, it receives numbers from its customers and it transmits or delivers a
 15         recorded message to those numbers. That essentially makes it a caller, at least
 16         by some common-sense definition of the term, even if the customers are the
 17         chief architects of the calls. . . . [W]ith only pleadings to go on and no
 18         discovery as to the precise relationship between CallFire and [its clients], it is
 19         simply too early in this litigation for the Court to affirmatively conclude that
 20         CallFire is the middleman it claims.
 21   Id. at 1103–05. Couser is not an anomaly; it is a reflection of appropriate standards
 22   for a motion to dismiss, adopted by other courts as well. See Linlor v. Five9, Inc.,
 23   No. 17CV218-MMA (BLM), 2017 WL 2972447, at *4 (S.D. Cal. July 12, 2017)
 24   (“The Court, like other district courts have done in analogous cases, declines to find
 25   as a matter of law, at the pleadings stage, that Defendant is a common carrier
 26   exempt from liability under the TCPA.”); Luna, 2014 WL 5324291, at *2 (citing
 27
               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
 28                                              -11-
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  1   Couser as “convincing” and following suit). The case at hand is no different:
  2   Defendant asks the Court to accept its representations about its own service without
  3   any discovery to verify the relationship with CallFire’s clients. To do so on a
  4   motion to dismiss would inappropriately exceed the standard of construing factual
  5   allegations in a light most favorable Plaintiff as the non-movant. See Couser, 994 F.
  6   Supp. 2d at 1101 (citing Cedar-Sinai Med. Ctr. V. Nat’l League of Postmasters of
  7   U.S., 497 F.3d 972, 975 (9th Cir. 2007).
  8         Plaintiff has sufficiently pleaded CallFire’s involvement in the initiation of
  9   unlawful text messages to survive a motion to dismiss. Defendant’s arguments to
 10   the contrary either ignore support in the Complaint or ask the Court to extend
 11   beyond the evidentiary scope of a motion to dismiss. Accordingly, the Court should
 12   deny CallFire’s motion and permit this case to proceed.
 13         B.       Wigod Has Pleaded Facts To Plausibly Suggest That CallFire’s
 14                  Service Platform Is An ATDS.
 15         In addition to arguing that it is not liable as an initiator of the text messages
 16   in question, CallFire contends that its platform does not qualify as an ATDS for the
 17   purposes of TCPA liability. However, Plaintiff has pleaded sufficient facts to
 18   demonstrate the automated nature of CallFire’s system above the speculative level.
 19   Defendant is once again attempting to prematurely elicit fact-based determinations
 20   from the Court before discovery can be conducted.
 21         The TCPA prohibits the use of an automatic telephone dialing system to
 22   make texts or calls to consumer cell phones. 47 U.S.C. § 227(b)(1)(A)(iii). The
 23   statute defines an ATDS as “equipment which has the capacity to store or produce
 24   telephone numbers to be called, using a random or sequential number generator;
 25   and to dial such numbers.” 47 U.S.C. § 227(a)(1). The Ninth Circuit clarified last
 26   year that this definition includes “devices with the capacity to dial stored numbers
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                 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
 28                                              -12-
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  1   automatically.” Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1052 (9th Cir.
  2   2018).
  3         Of course, no autodialer is fully automated, meaning that it could operate
  4   without any human intervention whatsoever: “at the very least, a human has to flip
  5   the switch on an ATDS.” Id. at 1053. Rather, by referring to the devices in question
  6   as automatic dialing systems, “Congress made clear that it was targeting equipment
  7   that could engage in automatic dialing, rather than equipment that operated without
  8   any human oversight or control.” Id. at 1052. The level of human intervention
  9   required to remove any particular system from the ATDS definition is a mixed
 10   question of fact and law that requires case-by-case determination. See Herrick v.
 11   GoDaddy.com LLC, 312 F. Supp. 3d 792, 801 (D. Ariz. 2018) (citing TCPA
 12   Declaratory Ruling at 7973).
 13         At the motion to dismiss stage, the Court recently found that “it is
 14   unreasonable to expect [plaintiffs] to know or plead with a high level of precision
 15   the technology behind the messages.” Armstrong v. Investor’s Business Daily, Inc.,
 16   No. CV 18-2134-MWF (JPRx), 2018 WL 6787049, at *9 (C.D. Cal. Dec. 21,
 17   2018). Instead, plaintiffs may meet their burden by pleading enough circumstantial
 18   or indirect allegations, such as “content of the messages, context and manner in
 19   which they were sent, existence of similar messages, frequency of messages, etc.,”
 20   to plausibly suggest the use of an ATDS. Id. For example, the Ninth Circuit
 21   reversed dismissal of a TCPA complaint where the plaintiff alleged that: (1) he
 22   received multiple identical messages, including immediate replies confirming opt-
 23   out; (2) he continued to receive messages following that confirmation; (3) all
 24   messages were “generically formatted and appeared scripted”; (4) none of the
 25   messages referenced him directly; and (5) the texts came from a shortcode, which is
 26   “typically associated with automated services.” Flores v. Adir Int’l, LLC, 685 Fed.
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               PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1   Appx. 533, 533 (9th Cir. 2017); see also Washington v. Six Continents Hotels, Inc.,
  2   No. 2:16-CV-03719-ODW-JEM, 2018 WL 4092024, at *4 (C.D. Cal. Aug. 24,
  3   2018) (citing Flores and others); Rouse v. Delta Air Lines, Inc., No. CIV. 15-1642
  4   PAM/JSM, 2015 WL 4636726, at *3 (D. Minn. Aug. 4, 2015) (finding that
  5   allegations of generic messages and failed stop requests were sufficient to plausibly
  6   allege use of an ATDS).
  7            Here, Plaintiff has adequately alleged that the text messages he and the class
  8   members received from CallFire were sent using an ATDS. Plaintiff has alleged
  9   that the system in question automatically dialed numbers en masse from a stored list
 10   or database. (ECF 1, at ¶¶ 36–38.) Plaintiff further demonstrated the automated
 11   nature of the text messages by describing, and providing screenshots of, the
 12   messages that he received. (Id. at ¶¶ 12–18.) In particular, Wigod received several
 13   of the telemarketing messages in a predictable pattern: once a day for three days in
 14   a row. (Id. at ¶ 18.) The telemarketing messages—which were sent from an SMS
 15   shortcode—were generic and impersonal, making no reference to Wigod and
 16   describing sales that could have been (and likely were) offered to countless other
 17   recipients with no change to the message. (Id.) Additionally, Plaintiff made stop
 18   requests that were not honored, but he received replies that were delivered
 19   immediately and contained an identical message confirming his removal from the
 20   messaging program. (Id.) Wigod has more than met his burden to plausibly suggest
 21   the use of an ATDS. Any further specific details about CallFire’s dialing system
 22   could not be alleged because Plaintiff does not have access to those details—such
 23   information would have to be procured through discovery.1
 24

 25
      1
          To the extent that the Court may consider Defendant’s representations in the
          Motion, CallFire describes its offering as enabling customers to simply “push the
 26       send button” to activate the system. (ECF 17-1, at 12.) Paired with CallFire’s
 27
          claim on its website that the platform allows users to “reach thousands instantly,”
                 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
 28                                              -14-
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  1         In response, CallFire argues that its system is not an ATDS “as a matter of
  2   law.” (ECF 17-1, at 18.) To support its position, Defendant cites to three cases—
  3   Luna v. Shac, LLC, 122 F. Supp. 3d 936, 940–42 (N.D. Cal. 2015); Ramos v.
  4   Hopele of Fort Lauderdale, LLC, 334 F. Supp. 3d 1262, 1275 (S.D. Fla. 2018); and
  5   Duran v. La Boom Disco, Inc., No. 17cv-6331, 2019 WL 959664, at *4–11
  6   (E.D.N.Y. Feb. 25, 2019). The cases cited are distinguishable for a number of
  7   reasons. First, each of these cases considered CallFire’s calling system at the
  8   summary judgment stage (as opposed to a motion to dismiss), which includes a
  9   heightened level of proof and the benefit of discovery. Second, none of these cases
 10   were decided under Marks—Luna predates the Ninth Circuit’s Marks decision, and
 11   both Ramos and Duran were decided in other circuits.
 12         Finally, and perhaps most crucially, none of these cases involved stop
 13   requests or automated confirmation messages. By contrast, Wigod received and
 14   alleged receipt of automated confirmatory messages that, because they are titled
 15   with the phrase “CallFire Alerts,” were plausibly sent by CallFire through an
 16   ATDS. (See ECF 1, at ¶¶ 14–18.) In other words, Plaintiff has alleged even more
 17   facts to suggest the automated nature of Defendant’s platform. Despite these
 18   distinctions, CallFire is asking once again for proof of the case and evidentiary
 19   determinations beyond the scope of the present motion. At this stage of the
 20   litigation, Plaintiff has met his pleading requirements by alleging enough about the
 21   nature of the messages he received to, when taken as true, plausibly suggest that
 22   CallFire’s mass text messaging platform qualifies as an ATDS. Absent discovery
 23   related to the nature of CallFire’s messaging platform, it is inappropriate to accept
 24

 25
       it is evident that Defendant’s system is an ATDS that achieves mass text
 26    communication by automating the dialing process. See Text Messaging, CallFire,
 27
       https://www.callfire.com/products/text-messaging (last visited June 20, 2019).
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 28                                            -15-
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  1   Defendant’s assertions beyond the pleadings as true and to conclude at this time that
  2   the system in question is not an ATDS.
  3         CallFire also likens Plaintiff’s claims to those raised in Hulsey v. Peddle,
  4   LLC, No. CV 17-3843 DSF (ASx), 2017 WL 8180583 (C.D. Cal. Oct. 23, 2017).
  5   (ECF 17-1, at 17–18.) While the allegations are admittedly similar—given that both
  6   were TCPA claims involving automated text messages—the facts of Hulsey bear a
  7   critical distinction from the present case that led to dismissal of the complaint.
  8   “Peddle’s texts were sent after Hulsey provided her phone number on the Junk Car
  9   Zone website, which suggests ‘direct targeting that is inconsistent’” with the use of
 10   an ATDS. Hulsey, 2017 WL 8180583, at *2 (quoting Weisberg v. Stripe, Inc., 2016
 11   WL 3971296, at *3 (N.D. Cal. July 25, 2016)). Due to this prior relationship,
 12   Hulsey’s allegations did not support a reasonable inference of the use of an ATDS.
 13   Id. at *2–3. Here, on the other hand, Wigod had no prior relationship with CallFire
 14   and never provided his phone number to Defendant. (ECF 1, at ¶ 19.) Thus, his
 15   allegations are distinguishable from those in Hulsey and illustrate the use of an
 16   ATDS with greater plausibility.
 17         In short, Defendant’s arguments ignore the standard for review of a motion to
 18   dismiss and ask Wigod to prove his case without any discovery. Plaintiff has met
 19   his burden by credibly alleging that CallFire used an ATDS to place the text
 20   message calls at issue, and its motion should be denied.
 21   IV.   CONCLUSION
 22         The Court should deny CallFire’s Motion to Dismiss. Wigod has plausibly
 23   alleged CallFire’s involvement in initiating the unsolicited text messages, as a
 24   common carrier or otherwise, and he has adequately suggested that the system used
 25   was an ATDS. Defendant’s attack on the Complaint impermissibly exceeds the
 26   scope of review at this stage of the litigation—the time to prove Wigod’s claims has
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 28                                             -16-
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  1   not yet arrived. Accordingly, the Court should deny CallFire’s motion and award
  2   any such relief as it deems necessary and just.
  3

  4                                          Respectfully Submitted,
  5                                          LEE WIGOD, individually and on behalf of
  6                                          all others similarly situated,
  7
      Dated: June 24, 2019                   By:        /s/ Steven L. Woodrow
  8                                                      One of Plaintiff’s Attorneys
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  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on June 24, 2019.
  5                                         /s/ Steven L. Woodrow
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